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                          EXHIBIT H
                                    Case 1:25-cv-05201-JAV
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                                           Harm Sellers of Color                                                                                                            Buyers Need a $17,000 Raise to Afford a
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                                           Home sellers in communities of color lose $6,000 more on average when
                                           selling off the MLS                                                                                                              May 2025 Existing Home Sales Firmer Than
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                                           Home sellers who did not list their properties on the Multiple Listing Service (MLS) —a database that allows
                                           listings to be openly marketed to all home buyers and agents — lost out on mare than $1 billion collectively
                                           over the past two years. The harm to home sellers is greater in communities of color.

                                           In 2023 and 2024, home sellers who opted to sell off the MLS typically lost out an nearly $5,000, selling their
                                           home for 1.5% less than those listed on the MLS. The impact was particularly severe in communities of color —
                                           ZIP codes where a majority of household heads are Black, Hispanic, Asian American and Pacific Islander or
                                           Native American. Homes sold off the MLS in these areas typically sold for 3.2% less than MLS-listed homes —
                                           more than double the 1.2% lass in majority white neighborhoods. This equates to $9,850 last per off-market
                                           listing in communities of color, compared to a loss of around $3,700 per home in majority white
                                           neighborhoods.

                                           Zillow survey data shows that Hispanic and Black home sellers are mare often guided toward listing their
                                           homes privately by agents. Among home sellers who worked with an agent to list their home, 74% of Hispanic
                                           sellers and 73% of Black sellers said their agent recommended listing on a private listing network, compared to
                                           just 24% of white sellers.

                                           Homes in majority Hispanic neighborhoods are affected most, selling for 4% less when sold off the MLS — a
                                           difference of roughly $13,730. In majority Black neighborhoods, sellers of off-MLS listings typically left about
                                           $5,580 on the table, 3.1% less than the typical on-MLS sale.

                                           These trends underscore how selling off the MLS can cause sellers to miss out on the full potential of their
                                           housing wealth, particularly in communities of color. These communities may also miss out an opportunities
                                           for homeownership when homes far sale are only available to a select group rather than publicly available to
                                           all potential buyers. It is especially critical that buyers see all homes for sale in an inventory-constrained
                                           market like today's, where there are 26% fewer homes for sale than before the pandemic.


                                             Seller Group                              Median Sale Price Difference for        Median Sale Price Difference for
                                                                                       off-MLS Listings (Percentage)           off-MLS Listings (Dollar Amount)

                                             All home sellers                          -1.5%                                   -$4,975

                                             Sellers in majority white (not            -1.2%                                   -$3,694
                                             Hispanic) neighborhoods

                                             Sellers in communities of color           -3.2%                                   -$9,851

                                             Sellers in majority Black                 -3.1%                                   -$5,576
                                             neighborhoods

                                             Sellers in majority Hispanic              -4.0%                                   -$13,728
                                             neighborhoods




                                           Methodology

                                           Zillow analyzed a total of 10 million transactions, with 3.79 million meeting our strict inclusion criteria for
                                           comparing homes that sold on the MLS with privately listed sales.

                                           Privately listed sales were defined as sales that were marketed privately and were seemingly only submitted to
                                           the MLS once a purchase contract was in place. To classify these sales, Zillow identified sales that were
                                           reported pending or closed with at most one day active and with a buyer and seller represented by the same
                                           agent or by agents within the same brokerage office.

                                           Zillow also parsed off-MLS transactions, which were never published to the public MLS after being privately
                                           listed. Zillow further narrowed these "off-MLS" transactions into a much smaller set — those with a previous
                                           sale in the MLS, which allowed us to verity property details. Only this subset among off-MLS transactions was
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                 included in the analysis.                                                  Document 51-8                                         Filed 07/17/25                                 Page 3 of 3
                      In both sets — privately listed sales and validated off-MLS transactions — Zillow excluded new construction
                      homes, foreclosure sales, auction sales, non-arms-length transactions, bank/corporate/government
                      acquisitions, invalid quitclaims, and outlier sale prices (below 810,000 or above $10 million).

                      To determine the impact of listing strategy on the sale price, Zillow started with the Zestimate a full three
                      months prior to sale. If a home was listed at this time it was excluded (validation was conducted to ensure this
                      exclusion was not driving results). To strip out the effect of market-level price movements during this three-
                      month period, Zillow adjusted the Zestimate using movements in the Zillow Home Value Index at the ZIP code
                      level. The ratio of the sale price to the Zestimate-based expectation was then taken. The median of this ratio
                      was compared between listing groups: the on-MLS listings compared to the pocket listings and validated off-
                      MLS

                      Zillow defined communities of color for this analysis as ZIP codes where a majority of household heads are
                      Black, Hispanic, Asian American and Pacific Islander or Native American.




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